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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


JANIS SHUMWAY,

       Plaintiff,

v.                                                            2:21-cv-02303-SHL-atc

GAURI ESHAN, INC.,
KAMLESHBHAI J PATEL d/b/a OAKLAND INN, and
CHHAYA PATEL d/b/a OAKLAND INN, Individually,

       Defendants.


                           JOINT STIPULATION OF DISMISSAL


       Plaintiff Janis Shumway (“Shumway”) and Defendants Kamleshbhai J. Patel and Chhaya

Patel (collectively “Patels”) stipulate and agree to the following:

       1.      The Patels are the members of Gauri Eshan, Inc., a corporation organized and

existing under the laws of the State of Tennessee.

       2.      Gauri Eshan, Inc. is the owner and operator of the Oakland Inn, the hotel at issue

in this action, and owned and operated the Oakland Inn at all times relevant hereto.

       3.      Gauri Eshan is the proper defendant in this action, and the Patels should be

dismissed from this action with prejudice.

       4.      The caption in this matter shall be changed to remove the Patels as party defendants.

       The foregoing joint stipulation is entered into this 10th day of August, 2021.
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                             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I certify that on the 10th day of August, 2021, a true and correct copy of the foregoing was
served via the Court’s ECF system to the following:
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                                             /s/ Henry B. Talbot




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